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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                  )
                                                           )               8:15CR303
                         Plaintiff,                        )
                                                           )
         vs.                                               )                ORDER
                                                           )
DONALD HANDY and                                           )
BLAKE NEWCOMB,                                             )
                                                           )
                         Defendants.                       )



         This matter is before the court on the motion to continue by defendant Donald Handy (Handy)

(Filing No. 32). Handy seeks a continuance of the trial scheduled for December 14, 2015. Handy has filed

an affidavit in accordance with paragraph 9 of the progression order whereby Handy consents to the motion

and acknowledges he understands the additional time may be excludable time for the purposes of the

Speedy Trial Act (Filing No. 33). Handy's counsel represents that government's counsel and counsel for

co-defendant Newcomb have no objection to the motion Upon consideration, the motion will be granted.

Trial will be continued as to both defendants.



         IT IS ORDERED:

         1.     Handy's motion to continue trial (Filing No. 32) is granted.

         2.     Trial of this matter as to both defendants is re-scheduled for January 25, 2016, before

Senior Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting such

motion and outweigh the interests of the public and the defendants in a speedy trial. The additional time

arising as a result of the granting of the motion, i.e., the time between November 25, 2015, and January

25, 2016, shall be deemed excludable time in any computation of time under the requirement of the

Speedy Trial Act for the reason that defendants' counsel require additional time to adequately prepare the

case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)

& (B).

         DATED this 25th day of November, 2015.

                                                           BY THE COURT:


                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge
